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                       UNITED STATES OF AMERICA
                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


ROGER DALE ROBERTS,                 )
                                    )
                  Plaintiff,        )          Case No. 1:17-cv-141
                                    )
v.                                  )          Honorable Paul L. Maloney
                                    )
CITY OF NORTON SHORES, et al., )
                                    )
                  Defendants.       )
____________________________________)

                      REPORT AND RECOMMENDATION

       This is a civil rights action brought under 42 U.S.C. § 1983 by Roger Dale

Roberts. (Complaint, 1-2, ECF No. 1, PageID.3-4). Plaintiff’s complaint arises from

events in 2008 which ultimately resulted in plaintiff being convicted of three counts of

child sexually abusive activity, MCL 750.145c(2). See People v. Roberts, 808 N.W.2d

290, 294 (Mich. Ct. App. 2011). He was sentenced as “an habitual offender, fourth

offence, MCL 769.12, to 7 to 22 years’ imprisonment for each of the three convictions.”

Id.   His convictions have never been overturned.1


       1
        Plaintiff neglected to inform this Court that he filed a federal habeas corpus
petition in the Eastern District of Michigan. See Roberts v. Klee, 2:12-cv-14673 (E.D.
Mich.). On November 19, 2012, that case was administratively closed to allow plaintiff
to return to state court and exhaust the grounds on which he claims entitlement to
federal habeas corpus relief. The habeas case remains administratively closed.
       Plaintiff likewise neglected to inform this Court that the Muskegon County
Circuit Court denied his motion for relief from judgment and that his delayed
application for leave to appeal that decision is pending in the Michigan Court of
Appeals. See People v. Roberts, Case No. 336066 (Mich. Ct. App.). Plaintiff cannot
plead his way around the controlling factual findings and binding decisions of
Michigan’s courts.
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       Plaintiff was released from prison on parole on or about August 16, 2016.2 On

February 13, 2017, he filed this lawsuit. (Complaint, ECF No. 1). Plaintiff’s complaint

lists six defendants: Muskegon County Prosecutor Dale Hilson, Muskegon County

Prosecutor’s Office, City of Muskegon, Norton Shores Police Officer James Davis,

Norton Shores Police Department, and the City of Norton Shores. Plaintiff sues

defendants Hilson and Davis in their individual capacities. (Id. at 2, PageID.4).

Plaintiff seeks an award of damages. (Id. at 23-26, PageID.25-28).

       For the reasons set forth below, I recommend that plaintiff’s complaint be

dismissed.

                                Applicable Standards

       The Court has granted plaintiff leave to proceed in forma pauperis, in light of

his indigence. (ECF No. 8). Under the provisions of federal law, PUB. L. No. 104-134,

110 STAT. 1321 (1996), the Court is required to dismiss any action brought in forma

pauperis if the complaint is frivolous, malicious, fails to state a claim upon which relief

can be granted, or seeks monetary relief from a defendant immune from such relief.

28 U.S.C. § 1915(e)(2); see Mohlman v. Deutsche Bank Nat’l Tr. Co., No. 16-cv-11365,

2017 WL 67459, at *1 (E.D. Mich. Jan. 6, 2017); Wright v. Jackson, No. 1:16-cv-2765,

2017 WL 65834, at *1 (N.D. Ohio Jan. 5, 2017).




       2
        See http://mdocweb.state.mi.us/OTIS2/otis2profile.aspx?mdocNumber=737491
(last visited FEb. 16, 2017).

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       A complaint that fails to allege “ ‘enough facts to state a claim to relief that is

plausible on its face’ ” must be dismissed for failure to state a claim. Traverse Bay Area

Intermediate Sch. Dist. v. Michigan Dep’t of Educ., 615 F.3d 622, 627 (6th Cir. 2010)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A plaintiff must

‘plead [ ] factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.’ ” Albrecht v. Treon, 617 F.3d 890, 893

(6th Cir. 2010) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “A plaintiff falls

short if he pleads facts ‘merely consistent with the defendant’s liability’ or if the alleged

facts do not ‘permit the court to infer more than the mere possibility of misconduct[.]’”

Albrecht, 617 F.3d at 893 (quoting Iqbal, 556 U.S. at 678-79). “[T]he tenet that a court

must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

       In applying these standards, the court must read plaintiff’s pro se complaint

indulgently, see Haines v. Kerner, 404 U.S. 519 (1972), and accept plaintiff’s factual

allegations as true, unless they are clearly irrational or wholly incredible. Denton v.

Hernandez, 504 U.S. 25, 33 (1992). Applying these standards, the Court should

dismiss plaintiff’s complaint under 28 U.S.C. § 1915(e)(2) for failure to state a claim

and because plaintiff seeks damages against defendants immune from such relief.




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I.       Factual Allegations

         Plaintiff alleges that, on September 19, 2008, Norton Shores Police Officer

James Davis entered his residence without authorization.3 (Complaint at 3, 5-6, 11,

PageID.5, 7-8, 13). He alleges that during a “probable cause” hearing on October 31,

2008, in 60th District Court, Officer Davis gave false testimony. (Id. at 3-4, 6-7,

PageID.5-6, 8-9). Plaintiff states that Officer Davis was “employed by the Norton

Shores Police Department, City of Norton Shores, a political subdivision of the County

of Muskegon, in the state of Michigan.” (Id. at 12, PageID.14).

         Plaintiff alleges that Mr. Hilson is the prosecutor who filed the felony charges

and the habitual offender notice that concluded with the jury’s verdict finding him

guilty of three counts of child sexually abusive activity and the court’s imposition of a

lengthy prison sentence. Plaintiff has numerous complaints about the prosecutor’s

actions during trial. For example, he alleges that the prosecutor “procured, incited,

[and] condoned perjury during trial” from “the alleged victim.” (Id. at 4 , 9, 20-23,

PageID.6, 11, 22-25). He states that “the alleged facts presented/endorsed by the

prosecution were misrepresented, incomplete, as knowing and complicit to further

conceal/suppress exculpatory evidence of significance and favorable to the defense.”

(Id. at 22, PageID.24). He alleges that Prosecutor Hilson was a senior prosecuting




      Suffice it to say that Michigan’s courts disagreed. They found that plaintiff
         3

consented to the entry of the police officers, that he was not in custody, never requested
counsel, and that he voluntarily gave incriminating statements. There was no
Miranda violation and no error in the admission of evidence. See People v. Roberts, 808
N.W.2d at 298-301.

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attorney at the Muskegon County Prosecutor’s Office, County of Muskegon.4 (Id. at 4,

8, PageID.6, 10).

                                       Discussion

       All plaintiff’s claims are barred because they necessarily imply the invalidity of

his criminal convictions.5 Plaintiff’s claims are not cognizable under § 1983 until after

he has been successful in having his convictions overturned. See Heck v. Humphrey,

512 U.S. 477, 486-87 (1994)           “[I]n order to recover damages for allegedly

unconstitutional conviction or imprisonment, or for other harm caused by actions

whose unlawfulness would render a conviction or sentence invalid, a § 1983 plaintiff

must prove that the conviction or sentence has been [overturned].” Edwards v.

Balisok, 520 U.S. 641, 646 (1997). Further, plaintiff’s claims against defendant Davis

are barred by witness immunity and plaintiff’s claims against defendant Hilson are

barred by prosecutorial immunity. See Briscoe v. LaHue, 460 U.S. 325 (1983); Imbler

v. Pachtman, 424 U.S. 409 (1976).




       4
         Although the City of Muskegon is listed in the caption of the complaint (Id. at
1, PageID.1) and it is mentioned a few times in the body of plaintiff’s pleading (Id. at
2, 4, 8, 18, PageID.4, 6, 10, 20), plaintiff offers only a series of conclusions rather than
specific factual allegations against this defendant.
       5
        Plaintiff’s complaint does not include a request that this Court exercise
supplemental jurisdiction. (Complaint, “Statement of Jurisdiction” and Basis of
Jurisdiction,” ECF No. 1, PageID.2, 4). If plaintiff’s pleading had included such a
request, the Court should, in its discretion, decline to exercise supplemental
jurisdiction. 28 U.S.C. § 1367(c)(3).

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      The Muskegon County Prosecutor’s Office and the Norton Shores Police

Department are not entitles capable of being sued. See Howard v. Wayne County

Sheriff’s Office, 417 F. App’x 465, 467-68 (6th Cir. 2011); Spain v. St. Joseph County

Jail, No. 1:15-cv-205, 2016 WL 1296026, at * 2 (W.D. Mich. Feb. 11, 2016); Cosgrove

v. Corunna Police Dep’t, No. 2:15-cv-11418, 2015 WL 4243374, at * 2 (E.D. Mich. July

13, 2015) (collecting cases).

      Plaintiff has not alleged facts sufficient to state a claim against the municipal

defendants. See Iqbal, 556 U.S. at 678. Further, municipal liability may not be

imposed on a respondeat superior theory. See Monell v. Department of Social Services,

436 U.S. 658, 694-95 (1978). Absent an underlying constitutional violation, plaintiff’s

claims against the municipal defendants fail as well. See Robertson v. Lucas, 753 F.3d

606, 622 (6th Cir. 2014) (“There can be no liability under Monell without an underlying

constitutional violation.”); see also Katz v. Village of Beverly Hills, No. 16-1574, __ F.

App’x __, 2017 WL 360551, at * 5 (6th Cir. Jan. 25, 2017).

                                      Conclusion

      For the foregoing reasons, I recommend that plaintiff’s complaint be dismissed

under 28 U.S.C. § 1915(e)(2) for failure to state a claim upon which relief can be

granted and because plaintiff seeks damages from defendants immune from such relief.

      Assuming the Court dismisses the complaint, it must decide whether an appeal

of this action would be in good faith within the meaning of 28 U.S.C. § 1915(a)(3). For

the same reasons that I recommend dismissal of the complaint, I recommend that the

Court certify that there is no good-faith basis for an appeal.

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                                               Respectfully submitted,



Date: February 22, 2017                         /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge



                              NOTICE TO PARTIES

       Any objections to this Report and Recommendation must be filed and served
within fourteen days of service of this notice on you. 28 U.S.C. § 636(b)(1)(C); FED.
R. CIV. P. 72(b). All objections and responses to objections are governed by W.D.
MICH. LCIVR 72.3(b). Failure to file timely and specific objections may constitute a
waiver of any further right of appeal. See Thomas v. Arn, 474 U.S. 140 (1985);
Keeling v. Warden, Lebanon Corr. Inst., 673 F.3d 452, 458 (6th Cir. 2012); United
States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008). General objections do not
suffice. See McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir.
2006); Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006).




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